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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
SILVIA M. O’HARO,         :                 Civil No. 1:18-cv-02073
                          :
         Plaintiff,       :
                          :
         v.               :
                          :
HARRISBURG AREA COMMUNITY :
COLLEGE,                  :
                          :
         Defendant.       :                 Judge Jennifer P. Wilson

                                    ORDER

      AND NOW, this 30th day of September, 2020, for the reasons set forth in the

accompanying memorandum, IT IS ORDERED that Defendant’s motion for

summary judgment, Doc. 29, is GRANTED. The Clerk of Court is directed to

enter judgment for Defendant on the sole remaining claims for discrimination and

retaliation in Count II of the second-amended complaint, Doc. 17. The Clerk of

Court shall also CLOSE this case.

                                     s/Jennifer P. Wilson
                                     JENNIFER P. WILSON
                                     United States District Court Judge
                                     Middle District of Pennsylvania




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